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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                 §
In Re:                                           §      Chapter 7
                                                 §      (Previously Chapter 11)
Mountain Express Oil Company, et al.,            §
                                                 §      Case No. 23-90147
         Debtors.                                §
                                                 §


                LIMITED OBJECTION OF GABLE & GOTWALS, P.C.,
              ATTORNEYS EMPLOYED BY THE CHAPTER 11 DEBTORS,
          TO THE MOTION OF DEBTORS’ FORMER BANKRUPTCY COUNSEL
                   TO DISTRIBUTE FUNDS HELD IN RESERVE

         Gable & Gotwals, P.C. ("GableGotwals" or the "Applicant"), for its limited objection to

the Motion of Former Counsel for the Debtors for Entry of an Order Authorizing the Payment of

Estate Professionals’ Fees Pursuant to Final DIP Order and Professional Fee Order [Dkt. No.

#1519] (the “Reserve Distribution Motion”), respectfully represents as follows:

         1.       On March 18, 2023 (the “Petition Date”), the Debtors filed their jointly

administered chapter 11 cases (prior to conversion, the “Chapter 11 Cases”). The Debtors operated

their business and managed their properties as debtors and debtors in possession pursuant to

§§ 1107 and 1108 of the Bankruptcy Code until August 17, 2023, when a Chapter 11 Trustee was

appointed.

         2.       On August 24, 2023, these cases were converted from chapter 11 to chapter 7

(the “Conversion Date”) [Dkt. No. 1397]. Thereafter, the UST appointed Janet Northrup as the

Chapter 7 Trustee [Dkt. No. 1398].




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         3.       On April 25, 2023, during the pendency of these cases in chapter 11, the Court

entered its Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507, Bankruptcy

Rules 2002, 4001, 6004, and 9014, and Local Rule 4001-2 (I) Authorizing the Debtors to Use Cash

Collateral and Obtain Post-Petition Financing, (II) Granting Liens and Providing Super-Priority

Administrative Expense Status; (III) Granting Adequate Protection; and (IV) Granting Related

Relief [Docket No. 332] (the “Final DIP Order”).

         4.       As explained in the Reserve Distribution Motion, the Final DIP Order, at ¶ 17,

contained a professional fee “Carve-Out” from the DIP Lenders’ collateral “for fees and expenses

incurred by the Professionals up to the amounts contained in budgets approved by the Lenders.”

“Professionals” are defined in the Final DIP Order as “attorneys, accountants, and other

professionals retained by the Debtors and the [Unsecured Creditors] Committee under sections

327 or 1103(a) of the Bankruptcy Code.”

         5.       Moreover, ¶ 17 of the Final DIP Order authorized the Debtors’ restructuring

counsel to fund a trust account on a weekly basis for the payment of Professional fee claims

approved by the Court. According to the Reserve Distribution Motion, the amount held in reserve

is $5,116,118.18, which does not include additional funds held by the firm as a prepetition retainer

(the “Reserve”).

         6.       On May 15, 2023, the Court entered its Order Authorizing the Retention and

Compensation of Certain Professionals Utilized in the Ordinary Course of Business [Dkt. No.

407] (the “OCP Order”). On May 18, 2023, the Debtors filed a Notice of Filing of Additional

Professional to be Employed by the Debtors in the Ordinary Course of Business [Dkt. No. 421],

adding GableGotwals as a “Tier 2” Ordinary Course Professional.




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         7.       On June 14, 2023, GableGotwals filed its supporting Declaration of

Disinterestedness [Dkt. No. 524] (the “Declaration”). There were no objections to GableGotwals’

retention.

         8.       The OCP Order, pursuant to its procedures and together with the Declaration,

essentially resulted in GableGotwals’ employment as special counsel pursuant to 11 U.S.C.

§ 327(e). As a “Tier 2” Ordinary Course Professional, GableGotwals was authorized to bill and

collect its fees in the ordinary course of business, up to a cap of $50,000 per month, which

GableGotwals never approached much less exceeded.

         9.       Prior to GableGotwals’ employment, the undersigned sought a retainer in the

amount of $25,000 (about $10,000 shy of the amount GableGotwals is currently owed for post-

petition services). This request was denied by the Debtors’ former counsel, who assured the

undersigned that the Debtors had “ample ability to pay administrative claims.” See Exhibit “A”

(email thread with Debtors’ former restructuring counsel).

         10.      Despite the provisions of the OCP Order allowing payment in the ordinary course

of business, the assurances of the Debtors’ counsel, and submitting its monthly invoices,

GableGotwals was not paid during its representation of the Debtors.

         11.      On October 16, 2023, the Chapter 7 Trustee filed a Motion to Establish Bar Date

for Administrative Tax Claims and Chapter 11 Professional Fees [Dkt. No. 1547] (the “Bar Date

Motion”). In the Bar Date Motion, the Trustee informed the Court of a variety of administrative

claims that remain outstanding, including those of Ordinary Course Professionals hired pursuant

to the OCP Order, and sought a bar date for the filing of fee applications by these OCPs.

Accordingly, GableGotwals began preparing its fee application.




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         12.      An order was ultimately entered [Dkt. No. 1674], but it pertained only to

administrative tax claims, not professional fee claims.

         13.      The undersigned asked the Trustee’s counsel about this and the Bar Date Motion

generally, and was told that these cases are administratively insolvent, and therefore the Trustee

would not seek to establish a bar date for administrative claims. The undersigned was further

informed that beyond payment of the Reserve, administrative claims likely would not be paid.

         14.      GableGotwals has filed its fee application at Dkt. No. 1717, setting forth the

services rendered and the balance owed (totaling $35,763.80). While employed under the OCP

Order, GableGotwals constitutes a “Professional” as that term is defined in the Final DIP Order –

“attorneys, accountants, and other professionals retained by the Debtors . . ..”

         15.      When an estate is administratively insolvent, administrative claims on the same

level of priority should be paid on a pro rata basis. 11 U.S.C. § 726(b).

         16.      Courts that have addressed this issue have reached different conclusions. The Sixth

Circuit, in Specker Motor Sales Co. v. Eisen, 393 F.3d 659, 662 (6th Cir. 2004), held that § 726(b)

“plainly mandates pro rata distribution of assets among creditors in the same statutory class.” That

case, like this one, involved a chapter 11 case subsequently converted to chapter 7 and determined

to be administratively insolvent. The court held that the debtor’s counsel, who had been paid

interim compensation during the case, had to disgorge such fees so that all administrative claimants

at the same level of priority could be paid on a pro-rata basis. Id. (“The use of the word ‘shall’

with the pro rata requirement in § 726(b) indicates that such distribution is not discretionary.”).

The Sixth Circuit cited other cases in support of its view:

         See, e.g., Matz, 197 B.R. at 640–41 (“[C]ourts have uniformly permitted trustees and
         creditors to seek the return of funds paid to professionals employed in the bankruptcy
         proceeding.... To hold otherwise would be to ignore the plain language of § 726(b)
         and to unjustly award certain administrative claims of professionals a ‘superpriority’



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         status that is not mandated by the Code.”) (citations omitted); In re Lochmiller
         Industries, Inc., 178 B.R. 241, (Bankr.S.D.Cal.1995) (collecting cases and stating
         that, in 1995, it could find no case that did not order disgorgement of interim
         compensation when necessary to achieve pro rata distribution among equally
         situated creditors); In re Kingston Turf Farms, Inc., 176 B.R. 308, 310 (Bankr.
         D.R.I.1995) (“[D]isgorgement is required as a matter of law, just to adhere to the
         mandatory payment scheme of the Code, i.e., to ensure that all creditors of the same
         class share [pro rata ] in the available pool of funds.”).

Specker Motor Sales, 393 F.3d at 663.

         17.      One case representing the opposite view is In re Headlee Mgmt. Corp., 519 B.R.

452, 457 (Bankr. S.D.N.Y. 2014) (surveying cases and noting that the majority rule appears to be

that disgorgement is a matter of discretion, utilizing both § 726(b) and § 105).

         18.      GableGotwals does not seek the disgorgement of all interim fees paid in this case.

Rather, GableGotwals simply seeks to be included among the Professionals paid using the funds

held in the Reserve on a pro rata basis. These funds have not been distributed. To hold otherwise

would violate the pro rata requirement in § 726(b). Insofar as this unique situation is not expressly

addressed by § 726, GableGotwals submits that the Court has the power under § 105 to order a

modified distribution of the Reserve funds based on the facts and circumstances of this case.

         19.      Simply put, the essence of the Reserve Distribution Motion is to honor the promises

made, and related Court orders entered, in the chapter 11 cases. GableGotwals, as an Ordinary

Course Professional under the OCP Order, was promised payment in full, subject to the Tier 2 cap,

which it did not exceed. Had the OCP Order been followed, GableGotwals would have no need to

seek payment from the Reserve because its fees were to be paid in the ordinary course of business.

Indeed, Debtor’s former counsel assured GableGotwals that a retainer was unnecessary because

the Debtors had sufficient DIP financing secured to pay them. Ex. “A”.




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         20.      Under the Final DIP Order, the Reserve is intended for the Debtor’s Professionals,

and GableGotwals constitutes a Professional employed by the Debtor’s during the chapter 11

cases. Now that the cases are in chapter 7, if the Reserve is insufficient to pay all Professional fee

claims, the funds should be distributed on a pro rata basis pursuant to §§ 105 and 726(b).

         Based on the foregoing, GableGotwals requests that it be included among those

Professionals paid pursuant to the Reserve held by the Debtors’ former restructuring counsel, and

that the Reserve should be distributed on a pro rata basis if such claims cannot be paid in full.

         Dated: January 15, 2024.                  Respectfully submitted,


                                                   /s/ Brandon C. Bickle
                                                   Brandon C. Bickle, OBA #22064
                                                   Admitted Pro Hac Vice
                                                   GableGotwals
                                                   110 N. Elgin Ave., Ste. 200
                                                   Tulsa, Oklahoma 74120
                                                   (t) 918.595.4800 | (f) 918.595.4990
                                                   bbickle@gablelaw.com
                                                   Attorney for GableGotwals


                                  CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on January 15, 2024.


                                                       /s/ Brandon C. Bickle
                                                       Brandon C. Bickle




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Brandon Bickle

From:                 Jeffrey Dulberg <jdulberg@pszjlaw.com>
Sent:                 Friday, April 28, 2023 2:00 PM                                                         EXHIBIT
To:                   Brandon Bickle
Cc:                   Benjamin L. Wallen                                                                         "A"
Subject:              RE: Mountain Express


External email – beware of links and a achments




Correct, it's no. Not sure you responded to my email asking for a summary of what you are working on for the company.
Please provide that and if there are several ma ers include key details for each one. Thanks

Jeﬀrey Dulberg
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
jdulberg@pszjlaw.com
vCard | Bio | LinkedIn


Los Angeles | San Francisco | Wilmington, DE | New York | Houston


‐‐‐‐‐Original Message‐‐‐‐‐
From: Brandon Bickle [mailto:bbickle@gablelaw.com]
Sent: Friday, April 28, 2023 11:57 AM
To: Jeﬀrey Dulberg <jdulberg@pszjlaw.com>
Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
Subject: RE: Mountain Express

I'm sorry, Jeﬀ. I misunderstood. I thought you were going to confirm for me whether a retainer is an op on. I've been
asked to inquire about that.

Our chairman is a bankruptcy guy. We've discussed the case and I know he's aware of the reali es you referenced in your
email. I suspect he's going to s ck to his guns on this, but I will find out either way. I take it the answer on the retainer is
no?

Brandon Bickle | 918‐595‐4817 | GableGotwals

‐‐‐‐‐Original Message‐‐‐‐‐
From: Jeﬀrey Dulberg <jdulberg@pszjlaw.com>
Sent: Friday, April 28, 2023 1:49 PM
To: Brandon Bickle <bbickle@gablelaw.com>
Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
Subject: RE: Mountain Express

External email – beware of links and a achments

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Brandon ‐ Any conclusions reached as to whether your firm will remain on the roster?

Best,

Jeﬀrey Dulberg
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
jdulberg@pszjlaw.com
vCard | Bio | LinkedIn


Los Angeles | San Francisco | Wilmington, DE | New York | Houston

‐‐‐‐‐Original Message‐‐‐‐‐
From: Brandon Bickle [mailto:bbickle@gablelaw.com]
Sent: Thursday, April 27, 2023 7:08 AM
To: Jeﬀrey Dulberg <jdulberg@pszjlaw.com>
Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
Subject: RE: Mountain Express

Jeﬀ,

Thank you. I appreciate this informa on, and I understand your point. I believe the CRO told me that the Debtors are
pursuing a sale process that is expected to conclude mid‐summer. Is that right? I'm assuming you have no sense of what
creditors might be paid?

‐‐Brandon

Brandon Bickle | 918‐595‐4817 | GableGotwals

‐‐‐‐‐Original Message‐‐‐‐‐
From: Jeﬀrey Dulberg <jdulberg@pszjlaw.com>
Sent: Thursday, April 27, 2023 3:43 AM
To: Brandon Bickle <bbickle@gablelaw.com>
Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
Subject: RE: Mountain Express

External email – beware of links and a achments




Brandon ‐ Assuming we don’t have the authority, I urge you to tell your board to reconsider. The company has DIP
financing of roughly $29 million and ample ability to pay administra ve claims. As I frequently have told a orneys in
your posi on at this stage over my 27 year career ‐ it makes no sense to (proverbially) cry over spilt milk. Your firm was
one of MANY vendors that went unpaid and MANY of them ‐‐ across the company's opera ons ‐‐ are back working with
the company now that there is financing in place. So while I completely understand that your board feels scorned, they


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ought to recognize that this has gone from a loss to an opportunity. Feel free to give me a call if you would like to
discuss. My mobile is

Jeﬀrey Dulberg
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
jdulberg@pszjlaw.com
vCard | Bio | LinkedIn


Los Angeles | San Francisco | Wilmington, DE | New York | Houston


‐‐‐‐‐Original Message‐‐‐‐‐
From: Jeﬀrey Dulberg
Sent: Wednesday, April 26, 2023 3:07 PM
To: Brandon Bickle <bbickle@gablelaw.com>
Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
Subject: Re: Mountain Express

Brandon,

I don't know that the debtors have authority to pay one, but I am looking into it. There is no bar date set yet.

Jeﬀ

> On Apr 26, 2023, at 2:32 PM, Brandon Bickle <bbickle@gablelaw.com> wrote:
>
> Jeﬀ,
>
> I've spoken with my firm's CEO. Would the debtors be willing to pay GableGotwals a $25,000 retainer for post‐pe on
work? Without it, I'm not sure I can get authoriza on from our board of directors to con nue work for the debtors, given
the size of our pre‐pe on claim and uncertain es surrounding our ability to collect. Let me know.
>
> Also, will you please let me know if there's a bar date set in the case? I looked at the website today and didn't find one.
>
> Thanks!
>
> ‐‐Brandon
>
> Brandon Bickle | 918‐595‐4817 | GableGotwals
>
> ‐‐‐‐‐Original Message‐‐‐‐‐
> From: Jeﬀrey Dulberg <jdulberg@pszjlaw.com>
> Sent: Wednesday, April 12, 2023 1:46 AM
> To: Brandon Bickle <bbickle@gablelaw.com>
> Cc: Benjamin L. Wallen <bwallen@pszjlaw.com>
> Subject: Re: Mountain Express
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> External email – beware of links and a achments
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>
>
> Brandon‐
>
> Good speaking with you earlier today. You are correct. Disclose it in your OCP filings and you will preserve it.
>
> Jeﬀ
>
> On Apr 11, 2023, at 8:22 PM, Brandon Bickle <bbickle@gablelaw.com> wrote:
>
>
> Jeﬀ,
>
> We spoke earlier today about your intent to file an OCP mo on in the Mountain Express case. My firm is owed in
excess of $200k pre‐pe on. I didn’t think to ask this and should have. I don’t think we’re required by statute to waive
that claim in order to serve as special counsel. Do you intend to require OCP’s to waive their pre‐pe on claims in order
to be employed on a post‐pe on basis as special counsel?
>
> ‐‐Brandon
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> Brandon Bickle
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>|
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> Shareholder
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>|
>
>
> GableGotwals
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>
> (W) 918‐595‐4817<tel:918‐595‐4817>
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> (M) 918‐703‐6279<tel:918‐703‐6279>
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> 110 N. Elgin Ave., Ste. 200
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> Tulsa

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38183052021301044%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJX
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